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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                         :
UNITED STATES OF AMERICA,                 :
v.                                       : CRIMINAL ACTION:
ANTWUN JOHNSON, DEIDRA                   : 1:22-cr-00091-SCJ-LTW
ANDERSON, KEVIN BOLTON,                  :
and MARKUS ODOMES,                       :
                                         :
              Defendants.                :
                                         :


                                         ORDER

        The Pretrial Conference, previously scheduled for October 5, 2022, is continued to

Tuesday, October 18, 2022, at 11:30 A.M., before the undersigned magistrate judge.

This continuance will allow the necessary time needed for all attorneys to review the

voluminous discovery and determine if any pretrial motions are necessary. The time for

filing pretrial motions is extended to and through October 14, 2022.

        ( )   The delay between the original and rescheduled pretrial conferences shall be

excluded from Speedy Trial Act calculations because the Court finds that the reason for

the delay was for good cause and the interests of justice in granting the continuance

outweigh the public’s and the defendant’s rights to a speedy trial. 18 U.S.C. § 3161, et

seq.



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       ( )    The delay between the original and rescheduled pretrial conferences

shall not be excluded for Speedy Trial Act purposes. 18 U.S.C. § 3161, et seq.

       ( X)   The Court finds that due to the extensive discovery in this case,

it was necessary to extend the time for the defendants to file pretrial motions, and
accordingly, postpone the holding of the initial pretrial conference. The Court finds

that the interests of justice in continuing the pretrial motions deadline and in holding

the pretrial conference substantially outweigh the interests of the public and
defendants in the speedy resolution of this matter, and thus the Clerk is directed
to count as excludable any delay occurring in extending the motions deadline and

the holding of the pretrial conference. 18 U.S.C. § 3161, et seq.


       IT IS SO ORDERED, this 4th day of October, 2022.




                                           /S/LINDA T. WALKER
                                          LINDA T. WALKER
                                          UNITED STATES MAGISTRATE JUDGE




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